 1
 2
 3
 4
 5                              UNITED STATES DISTRICT COURT
 6                             EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                           CASE NO. CR F 10-0416 LJO
 9                         Plaintiff,                    ORDER ON 28 U.S.C. § 2255 MOTION
10                                                       TO VACATE, SET ASIDE, OR
            v.                                           CORRECT SENTENCE
11                                                       (Docs. 210, 212)
     RAFAEL PINEDA-PARRA,
12
13                     Defendant.
     ______________________________/
14
                                        I.     INTRODUCTION
15
            Defendant Rafael Pineda-Parra (“Defendant”), a prisoner in federal custody proceeding
16
     pro se, submitted to this Court a 28 U.S.C. § 2255 (“section 2255”) motion to vacate, set aside,
17
     or correct sentence. For the reasons discussed below, this Court DENIES Defendant’s section
18
     2255 motion.
19
                                         II.    BACKGROUND
20
     A.     Change of Plea and Plea Agreement
21
            Defendant was charged with several counts in connection with conspiracy to cultivate
22
     marijuana, cultivation of marijuana, distribution of marijuana, and possession of marijuana. On
23
     April 16, 2012, Defendant entered into a plea agreement with the United States (“government”)
24
     in which he agreed to plead guilty to count one of the indictment charging Defendant with
25
     conspiracy to cultivate marijuana, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846.
26
     (Doc. 140, p. 2). Pursuant to the plea agreement, Defendant “waives the right to appeal his
27
     conviction or any sentence” and “waives his right to challenge his conviction, sentence or the
28

                                                    1
 1   manner in which it was determined in any post-conviction attack, including but not limited to a
 2   motion under Title 28, United States Code, Sections 2241 or 2255.” (Doc. 140, p. 4-5).
 3           At the April 16, 2012 change of plea hearing, Defendant acknowledged:
 4           1.      His desire to plead guilty and his signature on the plea agreement;
 5           2.      He understood the elements of the crime on page five and six of the plea
 6                   agreement;
 7           3.      He understood and confirmed as true the facts on page six of the plea agreement;
 8           4.      He understood the mandatory minimum of a ten-year sentence;
 9           5.      He understood he was waiving his right to appeal and that as a result of the
10                   conviction, he will probably be deported;
11           6.      No one threatened or forced him to plead guilty and pleading guilty was his
12                   choice;
13           7.      He understood he was waiving his trial rights; and

14           8.      No one promised him anything other than what the plea agreement states.

15           Defendant further acknowledged that this Court is not bound by the plea agreement:

16           Q:     I’m obligated to consider the federal guidelines in sentencing, but not obligated to

17                  follow them, and if I don’t, you can’t take your change of plea back. Do you know

18                  that?

19           A:      Yes.

20   B.      Sentencing

21           At the August 27, 2012 sentencing, this Court sentenced Defendant to 168 months

22   imprisonment at the low end of the federal sentencing guidelines.

23                                         II.     DISCUSSION

24           Defendant seeks relief under section 2255 based on the instant motion. (Doc. 210).

25   A.      Waiver

26           Defendant’s waiver to attack his sentence collaterally renders his request for section 2255

27   relief susceptible to denial.

28

                                                      2
 1          A plea agreement is a contract and subject to contract law standards. United States v.
 2   Escamilla, 975 F.2d 568, 571 (9th Cir. 1992), United States v. Read, 778 F.2d 1437, 1441 (9th
 3   Cir. 1985). A defendant may waive the right to seek section 2255 and related relief. See United
 4   States v. Abarca, 985 F.2d 1012, 1013 (9th Cir. 1993), cert. denied, 508 U.S. 979 (1993). “[A]
 5   prisoner may not collaterally attack a judgment if the prisoner waived the right to do so.” United
 6   States v. Racich, 35 F.Supp.2d 1206, 1210 (S.D. Cal. 1999). A plea agreement does not waive
 7   the right to seek section 2255 or related relief unless it does so expressly. United States v. Pruitt,
 8   32 F.3d 431, 433 (9th Cir. 1994). The right to bring a collateral attack under section 2255 is
 9   statutory, and a “knowing and voluntary waiver of a statutory right is enforceable.” Abarca, 985
10   F.2d at 1014.
11          In the plea agreement, Defendant specifically waived his right to appeal his conviction or
12   any sentence and his right to challenge his conviction, sentence, or any post-conviction attack,
13   including a section 2255 or related motion. (Doc. 140, p. 4-5). Thus, Defendant’s waiver of his

14   appeal and collateral attack rights, as part of his knowing and voluntary plea agreement, is valid.

15   B.     Defendant Fails to Set Forth Factual Allegations in His Section 2255 Motion

16          Under section 2255, a prisoner in federal custody may petition the sentencing court to

17   vacate, set aside, or correct its sentence if the prisoner believes that his sentence was imposed “in

18   violation of the Constitution or laws of the United States, or that the court was without

19   jurisdiction to impose such sentence, or that the sentence was in excess of the maximum

20   authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255. “[T]o obtain

21   collateral relief a prisoner must clear a significantly higher hurdle than would exist on direct

22   appeal.” United States v. Frady, 456 U.S. 152, 166 (1982). The court shall grant a hearing,

23   determine the issues, and make findings of fact and conclusions of law, “[u]nless the motion and

24   the files and records of the case conclusively show that the prisoner is entitled to no relief.” 28

25   U.S.C. § 2255.

26          In deciding whether to grant a hearing, the court shall determine whether defendant made

27   “specific allegations that, if true, state a claim on which relief could be granted.” United States

28   v. Schaflander, 743 F.2d 714, 717 (9th Cir. 1984); United States v. Hearst, 638 F.2d 1190, 1194

                                                       3
 1   (9th Cir. 1980), cert. denied, 451 U.S. 938 (1981).         The hearing must be granted unless
 2   defendant’s allegations fail to state a claim for relief or are so palpably incredible or patently
 3   frivolous as to warrant summary dismissal, when viewed against the record. United States v.
 4   Schaflander, 743 F.2d at 717; see Blackledge v. Allison, 431 U.S. 63, 76 (1977); see Baumann v.
 5   United States, 692 F.2d 565, 571, 581 (9th Cir. 1982). Defendant bears the burden of proving
 6   his or her claims by a preponderance of the evidence. See Lee v. United States, 468 F.2d 906,
 7   906 (9th Cir. 1972); see United States v. Thompson, 587 F.Supp.2d 121, 122 (D.D.C. 2008)
 8   (citing United States v. Simpson, 475 F.2d 934, 935 (D.C.Cir. 1973).
 9          The arguments set forth within Defendant’s motion are not a model of clarity.
10   Defendant’s motion only contains legal concepts, rather than factual allegations. Specifically,
11   Defendant recites law regarding the general standard for relief under section 2255, the effect of a
12   guilty plea not waiving certain jurisdictional challenges to the conviction, when a petitioner’s
13   sentence is subject to review under the “reasonsonableness” standard, a court’s error in upward

14   decisions under the United States Sentencing Guidelines section 4A1.3, the petitioner’s

15   constitutional right to effective assistance of counsel, the need for a plea to be voluntary and

16   intelligent, and how the holdings in certain cases apply retroactively. (Doc. 210, p. 2-15). Since

17   Defendant fails to set forth facts that would indicate reasons for which relief should be granted,

18   this Court denies Defendant relief under section 2255. See United States v. Schaflander, 743 F.

19   2d at 717; see United States v. Hearst, 638 F.2d at 1194.

20   C.     Voluntary and Intelligent Plea and Ineffective Assistance of Counsel Arguments

21          Despite the lack of appearance and clarity of arguments made, Defendant seems to

22   contend that his guilty plea was involuntary and he received ineffective assistance of counsel.

23           1.     Voluntary and Intelligent Plea

24          Defendant’s voluntary and intelligent plea further bars certain section 2255 or other

25   requested relief.

26          “It is well settled that a voluntary and intelligent plea of guilty made by an accused

27   person, who has been advised by competent counsel, may not be collaterally attacked.” Mabry v.

28   Johnson, 467 U.S. 504, 508-09 (1984). To determine voluntariness, the court examines the

                                                     4
 1   totality of the circumstances. Iaea v. Sunn, 800 F.2d 861, 866 (9th Cir. 1986). A plea is
 2   voluntary if it “represents a voluntary and intelligent choice among alternative courses of action
 3   open to the defendant.” North Carolina v. Alford, 400 U.S. 25, 31 (1970). “[A] plea of guilty
 4   entered by one fully aware of the direct consequences . . . must stand unless induced by threats
 5   (or promises to discontinue improper harassment), misrepresentation (including unfulfilled or
 6   unfulfillable promises), or perhaps by promises that are by their nature improper as having no
 7   proper relationship to the prosecutor’s business (e.g. bribes).” Brady v. United States, 397 U.S.
 8   742, 755 (1970). In sum, “a guilty plea is void if it was ‘induced by promises or threats which
 9   deprive it of the character of a voluntary act.” Sanchez v. United States, 50 F.3d 1448, 1454 (9th
10   Cir. 1995) (quoting Machibroda v. United States, 368 U.S. 487, 493 (1962)).
11          Defendant contends that his guilty plea was involuntary but failed to set forth any facts to
12   support his argument. (Doc. 210, p. 10-12). Nonetheless, during the change of plea hearing,
13   Defendant acknowledged that he was fully aware of the direct consequence of his plea and

14   indicated his guilty plea was his choice. Moreover, Defendant was advised and acknowledged

15   his understanding that this Court was not bound by the plea agreement and could depart from it.

16   Thus, under Brady, Defendant’s plea must stand, as his plea was voluntary and intelligent.

17           2.     Ineffective Assistance of Counsel

18          The “Sixth Amendment right to counsel exists ‘in order to protect the fundamental right

19   to a fair trial.’”   Lockhart v. Fretwell, 506 U.S. 371, 368 (1993) (quoting Strickland v.

20   Washington, 466 U.S. 688, 684 (1984)); see also Nix v. Whiteside, 475 U.S. 157, 175 (1986).

21   When considering an ineffective assistance of counsel claim, a court must consider two factors.

22   Lockhart, 506 U.S. at 369; Strickland, 466 U.S. at 687; Lowry v. Lewis, 21 F.3d 344, 346 (9th

23   Cir. 1994), cert. denied, 513 U.S. 1001 (1995).

24          The first factor is whether the counsel’s performance fell below an objective standard of

25   reasonableness considering all of the circumstances. Strickland, 466 U.S. at 687-88; Bloom v.

26   Calderon, 132 F.3d 1267, 1270 (9th Cir. 1997), cert. denied, 494 U.S. 1039 (1998). A defendant

27   must demonstrate that counsel’s performance was deficient and that counsel made errors so

28   serious as not to function as “counsel” guaranteed by the Sixth Amendment. Strickland, 466

                                                       5
 1   U.S. at 687. A defendant must identify counsel’s alleged acts or omissions that were not the
 2   result of reasonable, professional judgment considering the circumstances. Strickland, 466 U.S.
 3   at 690; United States v. Quintero-Barraza, 78 F.3d 1344, 1348 (9th Cir. 1995), cert. denied, 519
 4   U.S. 848 (1996). There is a strong presumption that counsel’s performance fell within the wide
 5   range of professional assistance. Kimmelman v. Morrison, 477 U.S. 365, 381 (1986) (quoting
 6   Strickland, 466 U.S. at 689); Bloom, 132 F.3d at 1270; Hughes v. Borg, 898 F.2d 695, 702 (9th
 7   Cir. 1990). Judicial scrutiny of counsel’s performance is highly deferential. Strickland, 466 U.S.
 8   at 677-78; Quintero-Barraza, 78 F.3d at 1348; Sanders v. Ratelle, 21 F.3d 1446, 1456 (9th Cir.
 9   1994).
10            The second factor for court consideration is whether the petitioner has affirmatively
11   proven prejudice. Strickland, 466 U.S. at 693; Bloom, 132 F.3d at 1271. Prejudice occurs when
12   “there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the
13   proceeding would have been different.” Strickland, 466 U.S. at 694. A reasonable probability is

14   “a probability sufficient to undermine the confidence in the outcome.” Id. In addition, the court

15   can find prejudice only when the outcome would have been different without counsel’s errors.

16   See Lockhart, 506 U.S. at 369-70.

17            Defendant contends that he received ineffective assistance of counsel based on counsel’s

18   failure “to object to highly prejudicial evidence,” “to adequately counsel [Defendant] regarding

19   plea of guilty and nolo contendere,” “to adequately investigate [Defendant’s] competency,” “to

20   bring up the defense of either [e]ntrapment or [e]ntrapment by [e]stoppel,” and “to subject the

21   [g]overnment’s case to any meaningful adversarial testing.” (Doc. 210, p. 8-9). Since Defendant

22   did not demonstrate, in any way, that his counsel’s performance was deficient and that counsel

23   made serious errors, Defendant failed to meet the first standard in proving ineffective assistance

24   of counsel. In addition, Defendant failed to set forth any facts to support his argument regarding

25   ineffective assistance of counsel; instead, he stated legal concepts and conclusions.        Thus,

26   Defendant’s ineffective assistance of counsel claim fails.

27   ///

28   ///

                                                      6
 1   D.                       Certificate Of Appealability
 2                            28 U.S.C. § 2253(c)(1) precludes an appeal from a final order in section 2255
 3   proceedings unless a circuit justice or judge issues a certificate of appealability (“COA”). A
 4   COA may issue “only if the applicant has made a substantial showing of the denial of a
 5   constitutional right.” 28 U.S.C. §2253(c)(2); see Slack v. McDaniel, 529 U.S. 473, 483 (2000).
 6   A COA issues when defendant demonstrates the questions raised are “debatable among jurists of
 7   reason; that a court could resolve the issues [in a different manner]; or that the questions are
 8   adequate to deserve encouragement to proceed further.” Barefoot v. Estelle, 463 U.S. 880, 893,
 9   n. 4 (1983). In the absence of a COA, no appeal in a section 2255 proceeding may be heard. 28
10   U.S.C. § 2253(c).
11                            This Court has reviewed the record of this case and finds no jurist of reason could debate
12   the correctness to deny Defendant collateral relief. See Barefoot, 463 U.S. at 893, n. 4; Clark v.
13   Lewis, 1 F.3d 814, 819 (9th Cir. 1993). On the merits of this case, reasonable jurists would not

14   debate the constitutionality of defendant’s conviction. A COA is improper.

15                                                    CONCLUSION AND ORDER

16                            For the reasons discussed above, this Court DENIES Defendant section 2255 or related

17   relief and a COA.

18
19
20   IT IS SO ORDERED.

21                         Dated:   September 11, 2013                        /s/ Lawrence J. O’Neill
22   DEAC_Signature-END:
                                                                          UNITED STATES DISTRICT JUDGE

23   66h44d
24
25
26
27
28

                                                                      7
